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AO 440 (Rev. 06/12) Summons in a Civil Action



                                UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS

BETEIRO, LLC,
Plaintiff

         V.                                                 Civil Action No. 6:21−CV−01149−ADA

MORRIS MOHAWK GAMING GROUP,
Defendant



                                                SUMMONS IN A CIVIL ACTION

TO: Morris Mohawk Gaming Group
       c/o Alwyn Morris
       Kahnawake Office Complex
       Kahnawake, Qubec J0L1B0 Canada

   A lawsuit has been filed against you.

    Within 21 days after service of this summons on you (not counting the day you received it) −− or 60 days
if you are the United States or a United States Agency, or an office or employee of the United States described
in Fed. R. Civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
plaintiff or plaintiff`s attorney, whose name and address are:


                                   M. Scott Fuller
                                   Garteiser Honea
                                   119 W. Ferguson
                                   Tyler, TX 75702

  If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




   JEANNETTE J. CLACK
  CLERK OF COURT
   s/BRIANNA WINTER
  DEPUTY CLERK
                                                                   ISSUED ON 2021−11−09 09:09:47
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Civil Action No. 6:21−CV−01149−ADA

                                              PROOF OF SERVICE
              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

     This summons for(name of individual and title, if any)_____________________________________
was received by me on(date)________________.

        I personally served the summons on the individual at (place)_______________________________
        _______________________________________________on (date)___________________; or

        I left the summons at the individual's resident or usual place of abode with(name)______________
        ________________________________, a person of suitable age and discretion who resides there,
        on (date)_______________________, and mailed a copy to the individual's last known address; or

        I served the summons on(name of individual)___________________________________, who is
        designated by law to accept service of process on behalf of(name of organization)_____________
        __________________________________________________ on(date)________________; or

        I returned the summons unexecuted because _______________________________________; or

        Other (specify):________________________________________________________________
        ___________________________________________________________________________
        ___________________________________________________________________________

My fees are $_____________ for travel and $_____________ for services, for a total of $____________.

I declare under penalty that this information is true.

Date: ________________                                    _______________________________________
                                                                              Server's signature


                                                          _______________________________________
                                                                            Printed name and title



                                                          _______________________________________
                                                                               Server's Address

Additional information regarding attempted sevice, etc:
_________________________________________________________________________________
_________________________________________________________________________________
